                                      Case 2:22-cv-07679-JLS-SK Document 1 Filed 10/20/22 Page 1 of 19 Page ID #:1



                                  1    Thiago M. Coelho, SBN 324715
                                       thiago@wilshirelawfirm.com
                                  2
                                       Binyamin I. Manoucheri, SBN 336468
                                  3    binyamin@wilshirelawfirm.com
                                       WILSHIRE LAW FIRM
                                  4
                                       3055 Wilshire Blvd., 12th Floor
                                  5    Los Angeles, California 90010
                                       Telephone: (213) 381-9988
                                  6
                                       Facsimile: (213) 381-9989
                                  7
                                       Attorneys for Plaintiff Flor Jimenez
                                  8
                                       and Proposed Class
                                  9
                                 10                         UNITED STATES DISTRICT COURT

                                 11                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 12
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13    FLOR JIMENEZ, individually and on          CASE NO.:
                                       behalf of all others similarly situated,
                                 14
                                                           Plaintiff,                   CLASS ACTION COMPLAINT
                                 15                                                  1. VIOLATIONS OF THE
                                             v.
                                 16                                                     AMERICANS WITH
                                       PROSPECT HOTEL MANAGEMENT                        DISABILITIES ACT OF 1990, 42
                                 17    LLC d/b/a AUTOCAMP, a Delaware                   U.S.C. §12181
                                 18    limited liability company; and DOES 1         2. VIOLATIONS OF THE UNRUH
                                       to 10, inclusive,                                CIVIL RIGHTS ACT
                                 19                                                     DEMAND FOR JURY TRIAL
                                 20                        Defendants.
                                 21
                                 22
                                 23
                                 24          Plaintiff Flor Jimenez (hereinafter “Plaintiff”), individually and on behalf of

                                 25    all others similarly situated, brings this action based upon personal knowledge as to

                                 26    herself and her own acts, and as to all other matters upon information and belief,

                                 27    based upon, inter alia, the investigations of her attorneys.

                                 28          1.     Plaintiff is a visually impaired and legally blind person who requires
                                                                          1
                                                  CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07679-JLS-SK Document 1 Filed 10/20/22 Page 2 of 19 Page ID #:2



                                  1    screen-reading software to read website content using her computer. Plaintiff uses
                                  2    the terms “blind” or “visually impaired” to refer to all people with visual
                                  3    impairments who meet the legal definition of blindness in that they have a visual
                                  4    acuity with correction of less than or equal to 20 x 200. Some blind people who
                                  5    meet this definition have limited vision. Others have no vision.
                                  6          2.     Plaintiff, individually and on behalf of those similarly situated persons
                                  7    (hereafter “Class Members”), brings this Class Action to secure redress against
                                  8    Defendant Prospect Hotel Management LLC d/b/a Autocamp (hereinafter
                                  9    “Defendant”) and DOES 1-10, for its failure to design, construct, maintain, and
                                 10    operate its website to be fully and equally accessible to and independently usable
                                 11    by Plaintiff and other blind or visually impaired individuals. Defendant’s denial of
                                 12    full and equal access to its website, and therefore denial of its products and services
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13    offered thereby and in conjunction with its physical locations, is a violation of
                                 14    Plaintiff’s rights under the Americans with Disabilities Act (“ADA”) and
                                 15    California’s Unruh Civil Rights Act (“Unruh Act”).
                                 16          3.     Because Defendant’s website, https://autocamp.com/, (the “website”
                                 17    or “Defendant’s website”), is not fully or equally accessible to blind and visually
                                 18    impaired consumers, resulting in violation of the ADA, Plaintiff seeks a permanent
                                 19    injunction to cause a change in Defendant’s corporate policies, practices, and
                                 20    procedures so that Defendant’s website will become and remain accessible to blind
                                 21    and visually impaired consumers.
                                 22                                      THE PARTIES
                                 23          4.     Plaintiff, at all times relevant and as alleged herein, is a resident of
                                 24    California, County of Solano.       Plaintiff is a legally blind, visually impaired
                                 25    handicapped person, and member of a protected class of individuals under the ADA,
                                 26    pursuant to 42 U.S.C. § 12102(1)-(2), and the regulations implementing the ADA
                                 27    set forth at 28 CFR §§ 36.101, et seq.
                                 28          5.     Defendant is a Delaware limited liability company with its
                                                                          2
                                                  CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07679-JLS-SK Document 1 Filed 10/20/22 Page 3 of 19 Page ID #:3



                                  1    headquarters in Santa Barbara, California. Defendant’s servers for the website are
                                  2    in the United States.   Defendant conducts a large amount of its business in
                                  3    California and the United States as a whole. Defendant’s hotels constitute places
                                  4    of public accommodation pursuant to U.S.C. § 12181(7)(A), as Defendant owns
                                  5    and operates hotel locations. Moreover, Defendant’s website provides consumers
                                  6    access to the goods and services which Defendant offers in its brick-and-mortar
                                  7    hotels. For example, Defendant’s website allows for consumers to check room
                                  8    availability, book a room, book rooms using special offers, purchase gift cards,
                                  9    inquire about event spaces, purchase local experiences, apply for career
                                 10    opportunities, signup for Defendant’s newsletter, and apply for development
                                 11    opportunities. Consumers can also access information regarding press releases,
                                 12    Defendant’s gallery, Defendant’s contact information, frequently asked questions,
3055 Wilshire Blvd, 12th Floor




                                       Defendant’s social media webpages, available amenities, dining options, covid-19
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13
                                 14    precautions, Defendant’s journal, and Defendant’s leadership team.
                                 15          6.    Plaintiff is unaware of the true names, identities, and capacities of
                                 16    Defendants sued herein as DOES 1 to 10. Plaintiff will seek leave to amend this
                                 17    complaint to allege the true names and capacities of DOES 1 to 10 if and when
                                 18    ascertained. Plaintiff is informed and believes, and thereupon alleges, that each
                                 19    Defendant sued herein as a DOE is legally responsible in some manner for the
                                 20    events and happenings alleged herein and that each Defendant sued herein as a DOE
                                 21    proximately caused injuries and damages to Plaintiff as set forth below.
                                 22          7.    Defendant’s hotels are public accommodations within the definition of
                                 23    Title III of the ADA, 42 U.S.C. § 12181(7)(A).
                                 24          8.    The website provides access to the goods, services, privileges, and
                                 25    advantage of Defendant’s hotels, places of public accommodation, by allowing
                                 26    consumers to purchase the goods and services offered in its hotels through the
                                 27    website.
                                 28    ///
                                                                          3
                                                  CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07679-JLS-SK Document 1 Filed 10/20/22 Page 4 of 19 Page ID #:4



                                  1                             JURISDICTION AND VENUE
                                  2          9.     This Court has subject matter jurisdiction over the state law claims
                                  3    alleged in this Complaint pursuant to the Class Action Fairness Act, 28 U.S.C.
                                  4    §1332(d)(2)(A) because: (a) the matter in controversy exceeds the sum of $5
                                  5    million, exclusive of interest and costs; and (b) some of the class members are
                                  6    citizens of a state, which is minimally diverse from the states of citizenship of
                                  7    Defendant (Delaware and California).
                                  8          10.    Defendant is subject to personal jurisdiction in this District. Defendant
                                  9    has and is committing the acts or omissions alleged herein in the Central District of
                                 10    California that caused injury, and violated rights prescribed by the ADA and Unruh
                                 11    Act, to Plaintiff and to other blind and other visually impaired consumers. A
                                 12    substantial part of the acts and omissions giving rise to Plaintiff’s claims occurred
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13    in the Central District of California. Specifically, on several separate occasions,
                                 14    Plaintiff has been denied the full use and enjoyment of the facilities, goods and
                                 15    services of Defendant’s website and hotels, and Defendant conducts its activities
                                 16    related to the website from Santa Barbara.          The access barriers Plaintiff has
                                 17    encountered on Defendant’s website have caused a denial of Plaintiff’s full and
                                 18    equal access multiple times in the past and now deter Plaintiff on a regular basis
                                 19    from accessing Defendant’s website. Similarly, the access barriers Plaintiff has
                                 20    encountered on Defendant’s website have impeded Plaintiff’s full and equal
                                 21    enjoyment of goods and services offered at Defendant’s physical locations.
                                 22          11.    This Court also has subject matter jurisdiction over this action pursuant
                                 23    to 28 U.S.C. § 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title
                                 24    III of the ADA, 42 U.S.C. § 12181, et seq and 28 U.S.C. § 1367.
                                 25          12.    This Court has personal jurisdiction over Defendant because it
                                 26    conducts and continues to conduct a substantial and significant amount of business
                                 27    in the State of California, County of Santa Barbara, and because Defendant's
                                 28    offending website is available across California.
                                                                           4
                                                   CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07679-JLS-SK Document 1 Filed 10/20/22 Page 5 of 19 Page ID #:5



                                  1          13.    Venue is proper in the Central District of California pursuant to 28
                                  2    U.S.C. § 1391 because Defendant conducts and continues to conduct a substantial
                                  3    and significant amount of business in this District, Defendant is subject to personal
                                  4    jurisdiction in this District, and a substantial portion of the conduct complained of
                                  5    herein occurred in this District.
                                  6          14.    Defendant owns, operates and maintains brick-and-mortar hotel
                                  7    locations in the State of California and the wider United States. Defendant’s hotels
                                  8    offer goods and services to the public. Defendant also offers the very goods and
                                  9    services that are offered in Defendant’s places of public accommodations to the
                                 10    public through the website. Defendant’s brick-and-mortar hotel locations are places
                                 11    of public accommodation pursuant to 42 U.S.C. § 12181(7)(A), and Defendant’s
                                 12    website is subject to the requirements of the ADA because it provide methods by
3055 Wilshire Blvd, 12th Floor




                                       which consumers can access the goods and services offered in Defendant’s hotels
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13
                                 14    which are inaccessible to disable screen-reader users, like Plaintiff and the Class
                                 15    Members.
                                 16      THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET
                                 17          15.    The Internet has become a significant source of information, a portal,
                                 18    and a tool for conducting business, doing everyday activities such as shopping,
                                 19    learning, banking, researching, as well as many other activities for sighted, blind
                                 20    and visually impaired persons alike.
                                 21          16.    In today's tech-savvy world, blind and visually impaired people have
                                 22    the ability to access websites using keyboards in conjunction with screen access
                                 23    software that vocalizes the visual information found on a computer, laptop, tablet
                                 24    or phone screen. This technology is known as screen-reading software. Screen-
                                 25    reading software is currently the only method a blind or visually impaired person
                                 26    may independently access the internet. Unless websites are designed to be read by
                                 27    screen-reading software, blind and visually impaired persons are unable to fully
                                 28    access websites, and the information, products, and services contained thereon.
                                                                           5
                                                   CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07679-JLS-SK Document 1 Filed 10/20/22 Page 6 of 19 Page ID #:6



                                  1          17.    Blind and visually impaired users of Windows operating system-
                                  2    enabled computers and devices have several screen-reading software programs
                                  3    available to them. Some of these programs are available for purchase and other
                                  4    programs are available without the user having to purchase the program separately.
                                  5    Job Access With Speech, otherwise known as “JAWS,” is currently the most
                                  6    popular, separately purchased and downloaded screen-reading software program
                                  7    available for a Windows computer.
                                  8          18.    For screen-reading software to function, the information on a website
                                  9    must be capable of being rendered into text. If the website content is not capable
                                 10    of being rendered into text, the blind or visually impaired user is unable to access
                                 11    the same content available to sighted users.
                                 12          19.    The international website standards organization, the World Wide
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13    Web Consortium, known throughout the world as W3C, has published Success
                                 14    Criteria for version 2.1 of the Web Content Accessibility Guidelines ("WCAG 2.1"
                                 15    hereinafter). WCAG 2.1 are well-established guidelines for making websites
                                 16    accessible to blind and visually impaired people. These guidelines are adopted,
                                 17    implemented and followed by most large business entities who want to ensure their
                                 18    websites are accessible to users of screen-reading software programs. Though
                                 19    WCAG 2.1 has not been formally adopted as the standard for making websites
                                 20    accessible, it is one of, if not the most, valuable resource for companies to operate,
                                 21    maintain, and provide a website that is accessible under the ADA to the public.
                                 22    Plaintiff seeks Defendant comply with WCAG 2.1 as a remedy. Plaintiff does not
                                 23    premise Defendant’s violations of the ADA nor the Unruh Act on violations of
                                 24    WCAG 2.1. However, the Department of Justice (“DOJ”) has issued guidance on
                                 25    how to make web content accessible to people with disabilities. The DOJ’s
                                 26    guidance provides that: “Existing technical standards provide helpful guidance
                                 27    concerning how to ensure accessibility of website features. These include [WCAG]
                                 28    and the Section 508 standards, which the federal government uses for its own
                                                                           6
                                                   CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07679-JLS-SK Document 1 Filed 10/20/22 Page 7 of 19 Page ID #:7



                                  1    websites.”1 Accordingly, although not a sole basis to premise violations of the ADA
                                  2    and the Unruh Act on, WCAG “provide helpful guidance concerning how to ensure
                                  3    accessibility of website features.”
                                  4             20.     Within this context, the Ninth Circuit has recognized the viability of
                                  5    ADA claims against commercial website owners/operators with regard to the
                                  6    accessibility of such websites. Robles v. Domino’s Pizza, LLC, 913 F.3d 898, 905-
                                  7    06 (9th Cir. 2019), cert. denied, 140 S.Ct. 122, 206 L. Ed. 2d 41 (2019). This is in
                                  8    addition to the numerous courts that have already recognized such application.
                                  9             21.     Each of Defendant’s violations of the Americans with Disabilities Act
                                 10    is likewise a violation of the Unruh Civil Rights Act. Indeed, the Unruh Civil Rights
                                 11    Act provides that any violation of the ADA constitutes a violation of the Unruh
                                 12    Civil Rights Act. Cal. Civ. Code, § 51(f).
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13                                   FACTUAL BACKGROUND
                                 14             22.     Defendant offers the website to the public. The website offers features
                                 15    which should allow all consumers to access the goods and services which Defendant
                                 16    offers in connection with its physical locations. The goods and services offered by
                                 17    Defendant include, but are not limited, to the following: room reservations, gift
                                 18    cards, dining options, experience packages, career opportunities, event spaces, and
                                 19    dining services. Consumers can also access information regarding press releases,
                                 20    Defendant’s leadership team, development opportunities, contacting Defendant,
                                 21    covid-19 precautions, frequently asked questions, Defendant’s journal, Defendant’s
                                 22    gallery, special offers, and room availability.
                                 23             23.     Due to Defendant’s failure to properly code its website, Plaintiff has
                                 24    been and is still being denied equal and full access to Defendant’s hotels and the
                                 25    numerous goods, services, and benefits offered to the public through Defendant’s
                                 26    website.
                                 27    ///
                                 28    1   https://beta.ada.gov/resources/web-guidance/
                                                                              7
                                                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07679-JLS-SK Document 1 Filed 10/20/22 Page 8 of 19 Page ID #:8



                                  1                THE WEBSITE BARRIERS DENY PLAINTIFF ACCESS
                                  2          24.     Plaintiff is a visually impaired and legally blind person, who cannot
                                  3    use a computer without the assistance of screen-reading software. Fortunately,
                                  4    Plaintiff is a proficient user of screen-reading software to access the internet,
                                  5    including the likes of JAWS and uses it to access the internet. Plaintiff visited the
                                  6    website on several occasions using JAWS in order to make reservations.
                                  7          25.     During Plaintiff’s visits to Defendant’s website, Plaintiff encountered
                                  8    multiple access barriers which denied Plaintiff full and equal access to the facilities,
                                  9    goods, and services offered to the public and made available to the public on
                                 10    Defendant’s website. For example, when Plaintiff attempted to book a room, she
                                 11    was unable to select dates for her stay because of Defendant’s failure to properly
                                 12    code its calendar to be keyboard accessible to Plaintiff. Because Plaintiff is legally
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13    blind and uses the Jaws screen-reader, she must rely on her keyboard to navigate
                                 14    webpages, including Defendant’s website. As a result of Defendant’s failure to
                                 15    ensure that its calendar box to select dates for a visit is keyboard accessible, Plaintiff
                                 16    could not complete a booking.
                                 17          26.     As a result, Plaintiff who desired to book a room could not complete a
                                 18    booking as a sighted person could. If Defendant had sufficiently coded the website
                                 19    to be readable by Plaintiff’s screen-reader and accessible with her keyboard,
                                 20    Plaintiff would have been able to interact with these elements and complete a
                                 21    purchase as a sighted person could.
                                 22          27.     Accordingly, Plaintiff was denied the ability to make a purchase of a
                                 23    service which Defendant provides through the website in conjunction with its places
                                 24    of public accommodation, its hotels, because Defendant failed to have the proper
                                 25    procedures in place to ensure that content uploaded to the website contains the
                                 26    proper coding to convey the meaning and structure of the website and the goods
                                 27    and services provided by Defendant.
                                 28          28.        Due to the widespread access barriers Plaintiff encountered on
                                                                           8
                                                   CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07679-JLS-SK Document 1 Filed 10/20/22 Page 9 of 19 Page ID #:9



                                  1    Defendant’s website, Plaintiff has been deterred from accessing Defendant’s
                                  2    website and Defendant’s hotels.
                                  3          29.    Despite Plaintiff’s attempts to do business with Defendant on its
                                  4    website, the numerous access barriers contained on the website and encountered by
                                  5    Plaintiff, have denied Plaintiff full and equal access to Defendant’s website and
                                  6    Defendant’s hotels. Plaintiff, as a result of the barriers on Defendant’s website,
                                  7    continues to be deterred from accessing Defendant’s website and Defendant’s
                                  8    hotels. Likewise, based on the numerous access barriers Plaintiff has been deterred
                                  9    and impeded from the full and equal enjoyment of goods and services offered in
                                 10    Defendant’s hotels. If Defendant’s website was properly coded, Plaintiff could and
                                 11    would complete a booking to stay at Defendant’s hotels.
                                 12            DEFENDANT’S WEBSITE HAS A SUFFICIENT NEXUS TO
3055 Wilshire Blvd, 12th Floor




                                       DEFENDANT’S PHYSICAL LOCATIONS TO SUBJECT THE WEBSITE
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13
                                 14    TO THE REQUIREMENTS OF THE AMERICANS WITH DISABILITIES
                                 15                                            ACT
                                 16          30.    Defendant’s website is subject to the ADA because the goods and
                                 17    services that Defendant offers on the website are an extension of the goods and
                                 18    services offered in Defendant’s brick-and-mortar hotels. For example, the goods
                                 19    and the services which can be procured online are available for purchase in
                                 20    Defendant’s brick-and-mortar hotels. Thus, since the website facilitate access to
                                 21    the goods and services of a place of public accommodation, the website falls within
                                 22    the protection of the ADA because the website connects customers to the goods and
                                 23    services of Defendant’s physical hotels.
                                 24          DEFENDANT MUST REMOVE BARRIERS TO ITS WEBSITE
                                 25          31.    Due to the inaccessibility of the Defendant’s website, blind and
                                 26    visually impaired customers such as the Plaintiff, who need screen-readers, cannot
                                 27    fully and equally use or enjoy the facilities and services the Defendant offers to the
                                 28    public on its website. The access barriers the Plaintiff encountered have caused a
                                                                           9
                                                   CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07679-JLS-SK Document 1 Filed 10/20/22 Page 10 of 19 Page ID #:10



                                  1     denial of Plaintiff’s full and equal access in the past and now deter Plaintiff on a
                                  2     regular basis from accessing the website.
                                  3           32.    These access barriers on Defendant’s website have deterred Plaintiff
                                  4     from enjoying the goods and services of Defendant’s brick-and-mortar hotels which
                                  5     are offered through Defendant’s website in a full and equal manner to sighted
                                  6     individuals. Plaintiff and Class Members intend to visit the Defendant’s locations
                                  7     in the near future if Plaintiff and Class Members could access Defendant’s website
                                  8     fully and equally as a sighted person can.
                                  9           33.    If the website was equally accessible to all, Plaintiff and Class
                                 10     Members could independently navigate the website and complete a desired
                                 11     transaction, as sighted individuals do.
                                 12           34.    Plaintiff, through Plaintiff’s attempts to use the, has actual knowledge
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13     of the access barriers that make these services inaccessible and independently
                                 14     unusable by blind and visually impaired people.
                                 15           35.    The Defendant uses standards, criteria or methods of administration
                                 16     that have the effect of discriminating or perpetuating the discrimination against
                                 17     others, as alleged herein.
                                 18           36.    The ADA expressly contemplates the injunctive relief that Plaintiff
                                 19     seeks in this action. In relevant part, the ADA requires:
                                 20           In the case of violations of … this title, injunctive relief shall include
                                 21           an order to alter facilities to make such facilities readily accessible to
                                 22           and usable by individuals with disabilities …. Where appropriate,
                                 23           injunctive relief shall also include requiring the … modification of a
                                 24           policy …. 42 U.S.C. § 12188(a)(2).
                                 25           37.    Because Defendant’s website has never been equally accessible and
                                 26     because Defendant lacks a corporate policy that is reasonably calculated to cause
                                 27     the Defendant’s website to become and remain accessible, Plaintiff invokes 42
                                 28     U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring the Defendant to
                                                                           10
                                                    CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07679-JLS-SK Document 1 Filed 10/20/22 Page 11 of 19 Page ID #:11



                                  1     retain a qualified consultant acceptable to Plaintiff to assist Defendant to comply
                                  2     with WCAG 2.1 for Defendant’s website. The website must be accessible for
                                  3     individuals with disabilities who use desktop computers, laptops, tablets, and
                                  4     smartphones. Plaintiff and Class Members seek that this permanent injunction
                                  5     require Defendant to cooperate with the agreed-upon consultant to: train
                                  6     Defendant’s employees and agents who develop the website on accessibility
                                  7     compliance under the WCAG 2.1 guidelines; regularly check the accessibility of
                                  8     the website under the WCAG 2.1 guidelines; regularly test user accessibility by
                                  9     blind or vision-impaired persons to ensure that the Defendant’s website complies
                                 10     under the WCAG 2.1 guidelines; and develop an accessibility policy that is clearly
                                 11     disclosed on the Defendant’s website. The above provides contact information for
                                 12     users to report accessibility-related problems and requires that any third-party
3055 Wilshire Blvd, 12th Floor




                                        vendors who participate on the Defendant’s website to be fully accessible to the
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13
                                 14     disabled by conforming with WCAG 2.1.
                                 15           38.    If Defendant’s website were accessible, Plaintiff and Class Members
                                 16     could independently access information about the services offered and goods
                                 17     available for online purchase and complete a booking.
                                 18           39.    Although Defendant may currently have centralized policies regarding
                                 19     maintaining and operating Defendant’s website, Defendant lacks a plan and policy
                                 20     reasonably calculated to make Defendant’s website fully and equally accessible to,
                                 21     and independently usable by, blind and other visually impaired consumers.
                                 22           40.    Defendant has, upon information and belief, invested substantial sums
                                 23     in developing and maintaining Defendant’s website, and Defendant has generated
                                 24     significant revenue from Defendant’s website. These amounts are far greater than
                                 25     the associated cost of making Defendant’s website equally accessible to visually
                                 26     impaired customers.
                                 27           41.    Without injunctive relief, Plaintiff and Class Members will continue to
                                 28     be unable to independently use Defendant’s website, resulting in a violation of their
                                                                           11
                                                    CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07679-JLS-SK Document 1 Filed 10/20/22 Page 12 of 19 Page ID #:12



                                  1     rights.
                                  2                                CLASS ACTION ALLEGATIONS
                                  3               42.    Plaintiff, on behalf of herself and all others similarly situated, seeks to
                                  4     certify a nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2) (b)(3), the
                                  5     Nationwide class is initially defined as follows:
                                  6               all legally blind individuals who have attempted to access Defendant’s
                                  7               website by the use of a screen reading software during the applicable
                                  8               limitations period up to and including final judgment in this action.
                                  9               43.    The California class is initially defined as follows:
                                 10               all legally blind individuals in the State of California who have
                                 11               attempted to access Defendant’s website by the use of a screen reading
                                 12               software during the applicable limitations period up to and including
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13               final judgment in this action.
                                 14               44.    Excluded from each of the above Classes is Defendant, including any
                                 15     entity in which Defendant has a controlling interest, is a parent or subsidiary, or
                                 16     which is controlled by Defendant, as well as the officers, directors, affiliates, legal
                                 17     representatives, heirs, predecessors, successors, and assigns of Defendant. Also
                                 18     excluded are the judge and the court personnel in this case and any members of their
                                 19     immediate families. Plaintiff reserves the right to amend the Class definitions if
                                 20     discovery and further investigation reveal that the Classes should be expanded or
                                 21     otherwise modified.
                                 22               45.    Numerosity. Fed. R. Civ. P. 23(a)(1). This action has been brought and
                                 23     may properly be maintained as a class action against Defendant under Rules
                                 24     23(b)(1)(B) and 23(b)(3) of the Federal Rules of Civil Procedure. While the exact
                                 25     number and identities of other Class Members are unknown to Plaintiff at this time,
                                 26     Plaintiff is informed and believes that there are thousands of Members in the Class.
                                 27     Based on the number of customers who have visited Defendant’s California hotels,
                                 28     it is estimated that the Class is composed of more than the requisite number of
                                                                               12
                                                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07679-JLS-SK Document 1 Filed 10/20/22 Page 13 of 19 Page ID #:13



                                  1     persons to sustain an adequate class action. Furthermore, even if subclasses need
                                  2     to be created for these consumers, it is estimated that each subclass would have
                                  3     hundreds of Members. The Members of the Class are so numerous that joinder of
                                  4     all Members is impracticable and the disposition of their claims in a class action
                                  5     rather than in individual actions will benefit the parties and the courts.
                                  6           46.    Typicality: Plaintiff and Class Members’ claims are typical of the
                                  7     claims of the Members of the Class as all Members of the Class are similarly
                                  8     affected by Defendant’s wrongful conduct, as detailed herein.
                                  9           47.    Adequacy: Plaintiff will fairly and adequately protect the interests of
                                 10     the Members of the Class in that they have no interests antagonistic to those of the
                                 11     other Members of the Class. Plaintiff has retained experienced and competent
                                 12     counsel.
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13           48.    Superiority: A class action is superior to other available methods for
                                 14     the fair and efficient adjudication of this controversy. Since the damages sustained
                                 15     by individual Class Members may be relatively small, the expense and burden of
                                 16     individual litigation makes it impracticable for the Members of the Class to
                                 17     individually seek redress for the wrongful conduct alleged herein. Furthermore, the
                                 18     adjudication of this controversy through a class action will avoid the potentially
                                 19     inconsistent and conflicting adjudications of the claims asserted herein. There will
                                 20     be no difficulty in the management of this action as a class action. If Class treatment
                                 21     of these claims were not available Defendant would likely unfairly receive
                                 22     thousands of dollars or more in improper revenue.
                                 23           49.    Common Questions Predominate: Common questions of law and fact
                                 24     exist as to all Members of the Class and predominate over any questions solely
                                 25     affecting individual Members of the Class. Among the common questions of law
                                 26     and fact applicable to the Class are:
                                 27                  i.   Whether     Defendant’s     website,    https://autocamp.com/,     is
                                 28                       inaccessible to the visually impaired who use screen reading
                                                                           13
                                                    CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07679-JLS-SK Document 1 Filed 10/20/22 Page 14 of 19 Page ID #:14



                                  1                      software to access internet websites;
                                  2                  ii. Whether Plaintiff and Class Members have been unable to access
                                  3                      https://autocamp.com/ through the use of screen reading software;
                                  4                  iii. Whether the deficiencies in Defendant’s website violate the
                                  5                      Americans with Disabilities Act of 1990, 42 U.S.C. § 12181 et
                                  6                      seq.;
                                  7                  iv. Whether the deficiencies in Defendant’s website violate the
                                  8                      California Unruh Civil Rights Act, California Civil Code § 51 et
                                  9                      seq.;
                                 10                  v. Whether, and to what extent, injunctive relief should be imposed
                                 11                      on Defendant to make https://autocamp.com/ readily accessible to
                                 12                      and usable by visually impaired individuals;
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13                  vi. Whether Plaintiff and Class Members are entitled to recover
                                 14                      statutory damages with respect to Defendant’s wrongful conduct;
                                 15                      and
                                 16                  vii. Whether further legal and/or equitable relief should be granted by
                                 17                      the Court in this action.
                                 18           50.    The class is readily definable and prosecution of this action as a Class
                                 19     action will reduce the possibility of repetitious litigation. Plaintiff knows of no
                                 20     difficulty which will be encountered in the management of this litigation which
                                 21     would preclude the maintenance of this matter as a Class action.
                                 22           51.    The prerequisites to maintaining a class action for injunctive relief or
                                 23     equitable relief pursuant to Rule 23(b)(2) are met, as Defendant has acted or refused
                                 24     to act on grounds generally applicable to the Class, thereby making appropriate final
                                 25     injunctive or equitable relief with respect to the Class as a whole.
                                 26           52.    The prerequisites to maintaining a class action for injunctive relief or
                                 27     equitable relief pursuant to Rule 23(b)(3) are met, as questions of law or fact
                                 28     common to the Class predominate over any questions affecting only individual
                                                                           14
                                                    CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07679-JLS-SK Document 1 Filed 10/20/22 Page 15 of 19 Page ID #:15



                                  1     Members and a class action is superior to other available methods for fairly and
                                  2     efficiently adjudicating the controversy.
                                  3            53.    The prosecution of separate actions by Members of the Class would
                                  4     create a risk of establishing inconsistent rulings and/or incompatible standards of
                                  5     conduct for Defendant. Additionally, individual actions may be dispositive of the
                                  6     interest of all Members of the Class although certain Class Members are not parties
                                  7     to such actions.
                                  8            54.    Defendant’s conduct is generally applicable to the Class as a whole
                                  9     and Plaintiff seek, inter alia, equitable remedies with respect to the Class as a whole.
                                 10     As such, Defendant’s systematic policies and practices make declaratory relief with
                                 11     respect to the Class as a whole appropriate.
                                 12                                           COUNT I
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13        VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT, 42
                                 14                                   U.S.C. § 12181 ET SEQ.
                                 15           (On Behalf of Plaintiff, the Nationwide Class, and the California Class)
                                 16            55.    Plaintiff alleges and incorporates herein by reference each and every
                                 17     allegation contained in paragraphs 1 through 54, inclusive, of this Complaint as if
                                 18     set forth fully herein.
                                 19            56.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq.,
                                 20     provides: “No individual shall be discriminated against on the basis of disability in
                                 21     the full and equal enjoyment of the goods, services, facilities, privileges,
                                 22     advantages, or accommodations of any place of public accommodation by any
                                 23     person who owns, leases (or leases to), or operates a place of public
                                 24     accommodation.” 42 U.S.C. § 12182(a).
                                 25            57.    Under Section 302(b)(2) of Title III of the ADA, unlawful
                                 26     discrimination also includes, among other things: “a failure to make reasonable
                                 27     modifications in policies, practices, or procedures, when such modifications are
                                 28     necessary to afford such goods, services, facilities, privileges, advantages, or
                                                                            15
                                                     CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07679-JLS-SK Document 1 Filed 10/20/22 Page 16 of 19 Page ID #:16



                                  1     accommodations to individuals with disabilities, unless the entity can demonstrate
                                  2     that making such modifications would fundamentally alter the nature of such goods,
                                  3     services, facilities, privileges, advantages or accommodations”; and “a failure to
                                  4     take such steps as may be necessary to ensure that no individual with a disability is
                                  5     excluded, denied services, segregated or otherwise treated differently than other
                                  6     individuals because of the absence of auxiliary aids and services, unless the entity
                                  7     can demonstrate that taking such steps would fundamentally alter the nature of the
                                  8     good, service, facility, privilege, advantage, or accommodation being offered or
                                  9     would result in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii). “A public
                                 10     accommodation shall take those steps that may be necessary to ensure that no
                                 11     individual with a disability is excluded, denied services, segregated, or otherwise
                                 12     treated differently than other individuals because of the absence of auxiliary aids
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13     and services, unless the public accommodation can demonstrate that taking those
                                 14     steps would fundamentally alter the nature of the goods, services, facilities,
                                 15     privileges, advantages, or accommodations being offered or would result in an
                                 16     undue burden, i.e., significant difficulty or expense.” 28 C.F.R. § 36.303(a). In
                                 17     order to be effective, auxiliary aids and services must be provided in accessible
                                 18     formats, in a timely manner, and in such a way as to protect the privacy and
                                 19     independence of the individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii).
                                 20           58.    Defendant’s hotel locations are “public accommodations” within the
                                 21     meaning of 42 U.S.C. § 12181 et seq. Upon information and belief, Defendant
                                 22     generates millions of dollars in revenue from the sale of its amenities and services,
                                 23     privileges, advantages and accommodations in California through its locations and
                                 24     related services, privileges, advantages, and accommodations, and its website,
                                 25     https://autocamp.com/,    constitutes   a   service,   privileges   advantage      and
                                 26     accommodation provided by Defendant that is inaccessible to customers who are
                                 27     visually impaired like Plaintiff.   This inaccessibility denies visually impaired
                                 28     customers full and equal enjoyment of and access to the facilities and services,
                                                                           16
                                                    CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07679-JLS-SK Document 1 Filed 10/20/22 Page 17 of 19 Page ID #:17



                                  1     privileges, advantages, and accommodations that Defendant made available to the
                                  2     non-disabled public. Defendant is violating the Americans with Disabilities Act,
                                  3     42 U.S.C. § 12181 et seq., in that Defendant denies visually impaired customers the
                                  4     services,    privileges,     advantages,      and    accommodations       provided   by
                                  5     https://autocamp.com/. These violations are ongoing.
                                  6            59.    Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights
                                  7     set forth and incorporated therein Plaintiff requests relief as set forth below.
                                  8                                              COUNT II
                                  9       VIOLATIONS OF THE UNRUH CIVIL RIGHTS ACT, CALIFORNIA
                                 10                                      CIVIL CODE § 51 ET SEQ.
                                 11                       (On Behalf of Plaintiff and the California Class)
                                 12            60.    Plaintiff alleges and incorporates herein by reference each and every
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13     allegation contained in paragraphs 1 through 59, inclusive, of this Complaint as if
                                 14     set forth fully herein.
                                 15            61.    California Civil Code § 51 et seq. guarantees equal access for people
                                 16     with disabilities to the accommodations, advantages, facilities, privileges, and
                                 17     services of all business establishments of any kind whatsoever. Defendant is
                                 18     violating the UCRA, Civil Code § 51 et seq.
                                 19            62.    Defendant’s locations are “business establishments” within the
                                 20     meaning of the California Civil Code § 51 et seq. Upon information and belief,
                                 21     Defendant generates millions of dollars in revenue from the sale of its services in
                                 22     California    through      its     physical   locations   and   related   services   and
                                 23     https://autocamp.com/, is a service provided by Defendant that is inaccessible to
                                 24     customers who are visually impaired like Plaintiff and Class Members. This
                                 25     inaccessibility denies visually impaired customers full and equal access to
                                 26     Defendant’s facilities and services that Defendant makes available to the non-
                                 27     disabled public. Defendant is violating the Unruh Civil Rights Act, California Civil
                                 28     Code § 51 et seq., in that Defendant is denying visually impaired customers the
                                                                            17
                                                     CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07679-JLS-SK Document 1 Filed 10/20/22 Page 18 of 19 Page ID #:18



                                  1     services provided by https://autocamp.com/. These violations are ongoing.
                                  2           63.    Defendant is also violating the Unruh Civil Rights Act, California
                                  3     Civil Code § 51 et seq. in that the conduct alleged herein likewise constitutes a
                                  4     violation of various provisions of the ADA, 42 U.S.C. § 12101 et seq. Section 51(f)
                                  5     of the California Civil Code provides that a violation of the right of any individual
                                  6     under the ADA shall also constitute a violation of the Unruh Civil Rights Act.
                                  7           64.    The actions of Defendant were and are in violation of the Unruh Civil
                                  8     Rights Act, California Civil Code § 51 et seq.; therefore, Plaintiff and Class
                                  9     Members are entitled to injunctive relief remedying the discrimination.
                                 10           65.    Plaintiff and Class Members are also entitled to statutory minimum
                                 11     damages pursuant to California Civil Code § 52 for each and every offense.
                                 12           66.    Plaintiff and Class Members are also entitled to reasonable attorneys’
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13     fees and costs.
                                 14           67.    Plaintiff and Class Members are also entitled to a preliminary and
                                 15     permanent injunction enjoining Defendant from violating the Unruh Civil Rights
                                 16     Act, California Civil Code § 51 et seq., and requiring Defendant to take the steps
                                 17     necessary to make https://autocamp.com/ readily accessible to and usable by
                                 18     visually impaired individuals.
                                 19                                  PRAYER FOR RELIEF
                                 20           WHEREFORE, Plaintiff, individually and on behalf of all Class Members,
                                 21     respectfully requests that the Court enter judgment in her favor and against
                                 22     Defendant as follows:
                                 23           A.     For an Order certifying the Nationwide Class and California Class as
                                 24                  defined herein and appointing Plaintiff and her Counsel to represent
                                 25                  the Nationwide Class and the California Class;
                                 26           B.     A preliminary and permanent injunction pursuant to 42 U.S.C. §
                                 27                  12188(a)(1) and (2) and section 52.1 of the California Civil Code
                                 28                  enjoining Defendant from violating the Unruh Civil Rights Act, the
                                                                           18
                                                    CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                      Case 2:22-cv-07679-JLS-SK Document 1 Filed 10/20/22 Page 19 of 19 Page ID #:19



                                  1                  ADA and requiring Defendant to take the steps necessary to make
                                  2                  https://autocamp.com/ readily accessible to and usable by visually
                                  3                  impaired individuals;
                                  4           C.     An award of statutory minimum damages of $4,000 per offense per
                                  5                  person pursuant to section 52(a) of the California Civil Code.
                                  6           D.     For attorneys’ fees and expenses pursuant to California Civil Code §§
                                  7                  52(a), 52.1(h), and 42 U.S.C. § 12205;
                                  8           E.     For pre-judgment interest to the extent permitted by law;
                                  9           F.     For costs of suit; and
                                 10           G.     For such other and further relief as the Court deems just and proper.
                                 11                               DEMAND FOR JURY TRIAL
                                 12           Plaintiff, on behalf of herself and all others similarly situated, hereby
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13     demands a jury trial for all claims so triable.
                                 14
                                 15     Dated: October 20, 2022                           Respectfully Submitted,
                                 16
                                 17                                                       /s/ Binyamin I. Manoucheri
                                                                                          Thiago M. Coelho
                                 18                                                       Binyamin I. Manoucheri
                                 19                                                       WILSHIRE LAW FIRM
                                                                                          Attorneys for Plaintiff and
                                 20                                                       Proposed Class
                                 21
                                 22
                                 23
                                 24
                                 25
                                 26
                                 27
                                 28
                                                                          19
                                                   CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
